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                  STATE OF ISRAEL
     REQUEST FOR RETURN OF ABDUCTED CHILDREN
        HAGUE CONVENTION OF 25 OCTOBER 1980 ON THE
     CIVIL ASPECTS OF INTERNATIONAL CHILD ABDUCTION
    FROM THE CENTRAL AUTHORITY FOR THE STATE OF ISRAEL
     TO THE CENTRAL AUTHORITY OF THE UNITED STATES OF
                        AMERICA
      1. Details of the children:
      First Child
       First an last name(s)               Bltma Felberbaum
       Date of irt                         May 1, 2014
       Place of birth                      Umted States
       Habitual residence before removal   Miriam Hanvcaa 23, Bet! Shemesh,
                                           Israel
       Nat1ona tl)'                        Amencan
       Passport number                     Unknown
       Additional nationality              Israeli
       Additional passport num er
       Gender
       Physical dcscnpt1on                 Photo attached, sec exhibit F

      Second Child
       First and last name(s)
       Date ot Irt
       Place of birth
       Habitual residence before removal   Mmam Hanveaa 23, Be1t Shemesh,
                                           Israel
       Nationality                         American
       Passport num er                     Un nown
                                           Israeli
       Ad ItIona passport num er
       Gender
       P 1ysIca escnphon                                            It F
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     2. Details of the Parents:

      Parent one
       First and last namc(s)                 Perl Felberbaum
       Date of birth                          January 7, 1984
       Place ot birth                         Israel
       Nationality                            Israeli
      Passport number
      Add1t1onal nationality                  Amencan
      Add1t1onal passport number
      Relationship to the children            Mother
      Occupation                              Rhythmic dance instmctor
       Habitual residence                     At the time ot the wrongful rctcnuon the
                                              mother lived at Miriam Hanveaa 23, Bcit
                                              Shemesh, Israel, but bas since moved to
                                              Ezra 39, Bnci Brak, Israel.
      Telephone number                        +972-XX-XXXXXXX
       Languagc(s)                            Hebrew, m1111mum prol1c1cncy m
                                              English. Will require assistance with
                                              translation.

      Parent two
       First and last narnc(s)                Yaakov Felber aum
       Date ot birth                          January 18, 1984
       Place of birth                         United States
      Nat1onahty                              American
       Passport number
      Add1t1onal nat1011ahty                  Israeli
      Add1t1onal passport number              Unknown
       Relallonsh1p to the children           Father
      Occupat1011                             Y esh1va student
       Habitual residence                     Mmam Hanveaa 23, Be1t Shernesh,
                                              lsrnel
      Telephone number                        +1-8454500499 = appears to not be 111 use
                                              now
       Language(s)                            Hebrew and English


       Date and Place of· Marriage            November 2, 2011, Bnc1 Brak, Israel
       Date and Place of Divorce              S1111 married


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      3. Detail of the individual requesting the return of the children:
       Requesting individual
       First and last name(s)                     Perl Felberbaum
       Nationality                                Israeli
       Relationship lo the childtrcn              Mother
       Hab1tuaJ residence                         Ezra 39, Bnei Brak, Jsracl
       Telephone and mobile number                +972-XX-XXXXXXX

      4. Details of legal advisor both in the requesting and requested country:
       Name, address and telephone
       number of legal adviser in
       requesting country
       Name, address and telephone                The mother wishes to have an attorney
       number of legal adviser in requested       appointed through the Legal Aid
       country                                    Program in the United State.

      5. Details of the person alleged to have retained the children:
       First and last name(sJ                     Yaakov Felberbaum
       Rclat1onsh1p to the children               Father
       Last known address after the               ROTH 306-181 UINT 304 MONSEY
       retention of the children                  U.S.A
       Last known phone number                    +184-54500499
       Names and contact details ol               Landlmc number of the house where the
       persons in the requested country           children arc, +184-53560062
       who might be able to supply                Shimon Weinberg - the children's uncle.
       additional information relating to         phone number, +184-55385656
       the whereabouts of the children, and       Mendel Weinberg - the childrcn•s aunt.
       the relation of such persons to the        phone number, +184-55385636
       children                                   The phone number of tJ1c boy•s
                                                  educational institution, +184-57313725
                                                  The phone number of the girl•s
                                                  educational institution: +184-53716900


      6. Time, date, place and circumstances of the wrongful retention, based on the
         claims of the left-behind parent:
         According to the mother, the parents agreed orally that the father could take the
         children for a two-week visit, to his family in the United States, during the
         Passover holiday in April 2023, provided that the children return in time to start
         school after the break, that being by 18 April 2023.


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        The mother claims that the father was hospitalized in the United States from 14-
        21 April, 2023. The mother therefore asked that the children be returned without
        him, however the father refused. She again requested their return after he was
        discharged, however he continued to refuse. She states that on 9 May, 2023,
        shedemandcd the return of the children and staled that she would take legal
        action if he did not comply. The father then cul off all contact with her, and
        between her and the children.



     7. Factual and legal background justifying this request, based on the claims of
        the left-behind parent:
        7.1 Habitual Residence is Jsrael:
            According to the mother, the children were born in the United States. The
            family immigrated to Israel in 2019, and since then have lived in Israel, where
            the children have been attending Israeli educational institutions and arc
            registered in the lsraeli health system.
        7.2 The requesting party has Custodial Rights under Israeli Law:
            Pursuant to lsracl•s Capacity and Guardianship Law 1962, parents are the
            joint guardians of their minor children, which includes the right to custody
            and the right to determine the children•s place of residence. The mother,
            therefore, has custodial rights under Israeli law.
        7.3 The Requesting Party exercised their Custodial Rights Prior to The
            Wrongful removal :
            The mother states that she has been actively involved in the children•s
            upbringing and their daily care since their birth. She has been involved in all
            aspects of their lives, including medical appointments, daycare, etc.

            The mother therefore claims that the retention of the children in the United
            States, without her consent, is in contravention of her custodial rights that
            she wus exercising at the time, and therefore constitutes a wrongful retention
            within the meaning of Article 3 of the Convention.
     8. Civil proceedings in progress between the parties:
        To the mother•s knowledge there arc no such proceedings.
     9. Voluntary Return or Mediation:
     The mother wishes to pursue voluntary return.
     10. The childtren is to be returned to:
       First and last namc(s)                Perl Fcl erbaum


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        Rclationshtp to the child1ren              Mother
        Address                                    Ezra 39, Bnc1 Brak, lsrael
        Telephone number                           +972-XX-XXXXXXX
        Proposed arrangements for the              Should the court in the Unttcd States
        return of the child1rcn                    order the return of the children to Israel
                                                   and should the father refuse to return
                                                   with them, the mother states that she will
                                                   make the necessary arraignments to have
                                                   the children returned to Israel.



      11. List of Documents Attached with translations:
          a. Birth Certificates of the children.
          b. Parents• ma,,-iagc certificate.
         c. Conft1111ation of the son•s attendance in Israeli educational institutions. ([he
            mother has not yet been able to obtain conftm1ation from the daughter's
            school}.
         d. Confinnation of the childrcrvs membership with healthcare services in Israel
         e. Extracts from the Population Registry in Israel, confirn1ing that the children
            have been living in Israel since 2019.
         f. Photographs of !he children.
         g. Copy of sections 14 and 15 oflsracl•s Capacity and Guardianship Law 1962
            with respect to custodial rights.
         h. Authorization pursuant lo Article 28 of the Hague Convention signed by
            applicant.
         1. Voluntary return letter signed by the applicant.
         J. Authorization to rclcac:;c case infom1ation, signed by the applicant.




                                  Signature,
                                                       Efrat Greenboim, Director
                                                   Department of International Affairs
                                                      Office of the State Attornev�
                                                            On behalf of the
                                                       Central Authority for the
                                                             State of Israel
   Date, November 15, 2023




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